Case 1:03-cr-20882-PAS Document 162 Entered on FLSD Docket 10/21/2020 Page 1 of 7




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       03-20882-CR-PAS

  UNITED STATES,

  v.

  CHARGOIS ANDERSON,

        Defendant.
  ________________________________/

                             OMNIBUS ORDER DISMISSING
                DEFENDANT’S MOTION TO REVIEW SENTENCE, AND DENYING
                   MOTIONS FOR DEFAULT AND MOTION FOR ISSUANCE
                         OF CERTIFICATES OF APPEALABILITY

            THIS MATTER is before the Court upon four motions that Defendant Chargois

  Anderson has filed. The first and second motions seek Review of Sentence Pursuant to 18 §

  3742 [DE 144], and for Default Judgment Rule 60(B) [DE 155] related to the first Motion. The

  third and fourth motions ask for Consideration [DE 150], and a Default related to that Motion

  [DE 152]. The Government filed a belated Response to the Defendant’s Motion for

  Consideration [DE 153].

            Having carefully reviewed the Parties’ submissions and the record, Defendant’s first

  motion to review his sentence pursuant to 18 § 3742 [DE 144] must be dismissed for lack of

  jurisdiction. All of his remaining motions: his Motion for Default Judgment Rule 60(B) [DE

  155], for Consideration [DE 150], and for Default [DE 152], must also be denied based on the

  law of the case. No Certificate of Appealability will be provided for any of the issues Defendant

  raised.
Case 1:03-cr-20882-PAS Document 162 Entered on FLSD Docket 10/21/2020 Page 2 of 7




         All four of Defendant’s Motions challenge the constitutionality of his conviction and

  sentence. 1 Moreover, this Court as well as the Eleventh Circuit have already rejected the

  premises of Defendant’s newest challenge several times. 2 The essence of Defendant’s motions is

  that the imposition of a seven-year sentence for brandishing a firearm during a crime of violence

  is unconstitutional because the jury only convicted him of using a firearm during a crime of

  violence, which only carries a five-year sentence. Notwithstanding the Defendant’s persistence,

  the Eleventh Circuit has found that his 2005 conviction and sentence for brandishing a firearm in

  violation of 18 U.S.C. § 924(c) is valid under United States v. Booker, 543 U.S. 220 (2005),

  Alleyene v. United States, 133 S. Ct. 2151 (2013), Johnson v. United States, 576 U.S. ____, 135

  S. Ct. 2551 (2015), United States v. Davis, 588 U.S. ___, 139 S. Ct. 2319 (2019), and the Federal

  Sentencing Guidelines. Thus, Defendant’s Motions which raise the same, previously rejected,

  arguments must be dismissed and/or denied as discussed below.

         A.      Background

         On January 21, 2005, a jury convicted Defendant of several felony charges arising from a

  series of delivery truck robberies. Defendant was convicted of one count of conspiracy to




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   On direct appeal, the Eleventh Circuit affirmed Defendant’s conviction. USA v. Chargois
  Ramon Anderson, Case No. 05-10506-CC (11th Cir. Feb. 6, 2006). The Eleventh Circuit rejected
  Defendant’s argument that pursuant to United States v. Booker, 543 U.S. 220 (2005), his
  sentence had been imposed in violation of due process and violated ex post facto principles. That
  Court held that although Booker rendered the Federal Sentencing Guidelines advisory rather than
  mandatory, Defendant had ample warning of the possible statutory maximum sentence for the
  committed offenses, thus no due process or ex post facto violation occurred at his sentencing.
  2
   Defendant filed his first 2255 Motion to Vacate in 2007, a second 2255 Motion to Vacate in
  2013, and a third 2255 Motion to Vacate in 2016. All of these Motions were denied or dismissed.
  Defendant has unsuccessfully sought Eleventh Circuit authorization three times to file a
  successive 2255. See In re: Chargois Anderson, Case Nos. 14-12278-F, 16-13267-J,19-13141-F.
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Case 1:03-cr-20882-PAS Document 162 Entered on FLSD Docket 10/21/2020 Page 3 of 7




  interfere with commerce by robbery and three counts of interfering with commerce by robbery

  (Hobbs Act Robbery), all in violation of 18 U.S.C. § 1951(a). He was also convicted of one

  count of carjacking in violation of 18 U.S.C. § 2119, and one count of use of a firearm during

  and in relation to a crime of violence in violation of 18 U.S.C. § 924 (c) [DE 107]. The § 924 (c)

  count specifically identified those counts that alleged Hobbs Act robbery and carjacking as the

  predicate crimes of violence.

         At sentencing, the Court applied an enhanced sentence of seven years based upon the

  Court’s finding that the Defendant had, in fact, brandished a firearm in relation to a crime of

  violence. The Court sentenced the Defendant to a term of 272 months’ imprisonment, including

  an 84-month consecutive sentence for brandishing a firearm in furtherance of a crime of violence

  [DE 107 at 2].

         B. Motion for Review of Sentence Pursuant to 18 USC § 3742 [DE 144]

           In this motion, Defendant again asserts that the § 924(c) conviction and sentencing

  enhancement for brandishing a firearm were improper under the Sentencing Guidelines.

  Although the Motion was brought pursuant to § 3742, it is in substance a second or successive 28

  U.S.C. § 2255 Motion to Vacate. Under the Antiterrorism and Effective Death Penalty Act of

  1996 (“AEDPA”), Defendant, who filed his original § 2255 motion in 2007, his second § 2255

  motion in 2013, and his third § 2255 Motion in 2016, was required to first obtain authorization

  from the Eleventh Circuit Court of Appeals before this Court can consider the Motion. See 28

  U.S.C. § 2244(b)(3)(A), 2255(h). Without such authorization, this Court lacks jurisdiction to

  entertain the Motion, and it must be dismissed. Felix v. United States, 709 Fed. Appx. 543, 548

  (11th Cir. 2017).




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Case 1:03-cr-20882-PAS Document 162 Entered on FLSD Docket 10/21/2020 Page 4 of 7




             C. Rule 60(b) Motion for Default [DE 155]

             This motion asks that his Motion for Review of Sentence be granted by default because

  the Government did not file a response. This Motion must be denied because it seeks substantive

  relief related to the Motion for Review of Sentence, over which the Court lacks jurisdiction.

             D. Motion for Reconsideration 3

             In Defendant’s Motion for Consideration, which the Court treats as a Motion for

  Reconsideration, he requests that this Court issue Certificates of Appealability (COA) for two of

  his three previously-denied Motions to Vacate. This Motion must also be denied because his

  request for a COA is untimely and meritless.

             Specifically, in 2014 and 2016, Defendant’s Motions to Vacate were denied and no

  certificate of appealability issued for either case. Defendant did not seek to timely appeal those

  denials and did not request reconsideration of the Court’s decisions declining to issue a

  Certificate of Appealability until August of 2019. Thus, Defendant’s request for a COA for

  those cases is untimely. United States v. Vicaria, 963 F.2d 1412, 1414 (11th Cir. 1992) (citing

  Fed. R. App. P. 4(b)(1)(A)(i)) which requires criminal defendants to file a motion for

  reconsideration or notice of appeal within 14 days after the district court enters the judgment or

  order being appealed); United States v. Russo, 760 F.2d 1229, 1230 (11th Cir. 1985) (same

  effect).




  3
    The Federal Rules of Criminal Procedure do not provide for motions for reconsideration. In
  ruling on a motion for reconsideration in a criminal case, federal district courts apply civil
  standards and exercise substantial discretion. United States v. Pugh, 426 F. App'x 876, 876 (11th
  Cir. 2011)). A motion for reconsideration cannot be used to relitigate old matters, raise
  arguments, or present evidence that could have been raised prior to the entry of judgment”
  Arthur v. King, 500 F.3d 1335, 1343 (11th Cir. 2007).
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Case 1:03-cr-20882-PAS Document 162 Entered on FLSD Docket 10/21/2020 Page 5 of 7




         Moreover, because Defendant did not first obtain Eleventh Circuit authorization to file

  either of those successive § 2255 Motions, this Court lacked jurisdiction to hear those Motions.

  When courts dismiss 2255 Motions for lack of jurisdiction, they may not issue a COA. 4

  Williams v. Chatman, 510 F.3d 1290, 1295 (11th Cir. 2007) (“Absent [court of appeals]

  authorization, the district court lacks jurisdiction to . . issue a COA with respect to [the

  successive motions], and dismissal is appropriate.”)

         Turning to the substance of the § 2255 Motions, the Eleventh Circuit denied Defendant

  authorization to pursue the claims raised in both the 2013 and 2016 Motions to Vacate. As to the

  2013 Motion, after this Court denied his successive § 2255 Motion, the Eleventh Circuit denied

  Defendant authorization to pursue his Alleyene v. United States, 133 S. Ct. 2151 (2013) claims

  raised in that Motion. That Court concluded that while Alleyene held that any facts that increases

  the applicable statutory mandatory minimum sentence for a crime must be submitted to a jury

  and found beyond a reasonable doubt, that holding had not been made retroactive to cases on

  collateral review, like the Defendant’s case. In re: Chargois Anderson, Case Nos. 14-12278-F

  (11th Cir. June 10, 2014)

         Similarly, in his 2016 Motion, the Eleventh Circuit denied Defendant authorization to

  pursue the Johnson v. United States, 576 U.S., 135 S. Ct. 2551 (2015) claims raised in that

  motion. See In re: Chargois Anderson, Case No. 16-13267-J (11th Cir. June 28, 2016). Johnson

  held the residual clause of the Armed Career Criminal Act (“ACCA”) unconstitutionally vague.

  In his motion, Defendant argued that the language in the ACCA was nearly identical to that in §


  4
    Defendant did not need to obtain a COA to challenge this Court’s determination that it lacked
  jurisdiction over his 2013 or 2016 Motions to Vacate. See Hubbard v. Campbell, 379 F.3d 1245,
  1246–47 (11th Cir. 2004) (no COA is required to appeal the dismissal for lack of jurisdiction of
  an unauthorized successive habeas petition). See United States v. Robinson, 579 Fed. Appx. 739,
  741 n.1 (11th Cir. 2014).

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Case 1:03-cr-20882-PAS Document 162 Entered on FLSD Docket 10/21/2020 Page 6 of 7




  924(c), and thus § 924 (c) should also be deemed unconstitutional as it pertained to the

  Defendant’s conviction and sentence. The Eleventh Circuit opined that Defendant’s § 924(c)

  conviction and sentence were based on use of a firearm during a substantive Hobbs Act Robbery

  and carjacking, which qualified as crimes of violence under the elements clause of § 924(c).

  Because the elements clause would remain unaltered even if the holding in Johnson was

  extended to § 924(c), the Eleventh Circuit held Defendant would not be entitled to relief under

  Johnson. Defendant was therefore unable to make a prima facie showing to warrant

  authorization to file a successive § 2255 Motion. 5

          Simply put, there is no basis to issue a COA for the denial and/or dismissal of the

  Defendant’s successive Motions to Vacate filed in 2013 and 2016. His Motion for

  Reconsideration must therefore be denied.

                 E. Motion for Default pursuant to Rule 60(B)(A)

         In his Motion for Default [DE 152], Defendant cites Rule 60(B)(A), and argues that

  because the Government failed to timely respond to the Defendant’s Motion for Consideration

  that the Defendant’s requested relief should be granted by default. The Government, in its

  belated response, explains that the assigned AUSA suffered a death in the immediate family that

  caused his tardy response. [DE 153 at 1, n.1].6



  5
    On August 30, 2019, the Eleventh Circuit denied the Defendant’s most recent request to file a
  successive § 2255 Motion based on United States v. Davis, 588 U.S. ___, 139 S. Ct. 2319
  (2019). In Davis, the Supreme Court extended its holding in Johnson and held that § 924(c)’s
  residual clause, like the residual clause in the ACCA was unconstitutionally vague. The Eleventh
  Circuit, consistent with its earlier denial of the Movant’s request to file a successive § 2255,
  concluded that Davis was not applicable to the Defendant’s case because his predicate crimes
  were crimes of violence under § 924(c)’s elements clause, and thus were unaffected by Davis.

  6
   The Government also correctly asserted that Defendant was not entitled to relief pursuant to the
  Supreme Court’s holding in Johnson.
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Case 1:03-cr-20882-PAS Document 162 Entered on FLSD Docket 10/21/2020 Page 7 of 7




         The AUSA has shown good cause for his late filing. Moreover, Defendant was not

  prejudiced in any way by that late filing as there is no basis for this Court to issue a COA for the

  Defendant’s successive Motions to Vacate. The Defendant’s Motion for default is therefore

  denied. Therefore, it is

         ORDERED that:

         1. Defendant’s Motion for Review of Sentence Pursuant to 18 § 3742 [DE 144] is

             DISMISSED for lack of jurisdiction;

         2. Defendant’s Motion for Default Judgment Rule 60(B) [DE 155] is DENIED.

         3. Defendant’s Motion of Consideration [DE 150], and Motion for Default [DE 152],

             are DENIED;

         4. No Certificate of Appealability will issue because the Court lacks jurisdiction to issue

         one for the successive Motion to Vacate and the Defendant has failed to demonstrate that

         reasonable jurists could debate the denial of the Defendant’s requested relief.

     DONE and ORDERED in Miami, Florida, this 21st day of October, 2020.


                                                         _______________________________
                                                         PATRICIA A. SEITZ
                                                         UNITED STATES DISTRICT JUDGE




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